Case 1:19-cv-00468-CG-B Document 1-1 Filed 08/08/19 Page 1 of 11   PageID #: 9




                      EXHIBIT A
                                                                    Blake Marine Group, LLC
                                                                        A/R Aging Detail
                                                                           As of August 7, 2019


                           Date            Transaction Type      Num                  Vendor            Due Date   Past Due       Amount              Payment         Open Balance
1 - 180 days past due
                        3/1/2019    Bill                      BMG-19972   EPIC ALABAMA RECYCLERS LLC   3/1/2019         159           5,010.00            -5,010.00              0.00
                        4/9/2019    Bill                      BMG-19310-1 EPIC ALABAMA RECYCLERS LLC   4/9/2019         120         121,027.50           -94,990.00         26,037.50
                        5/9/2019    Bill                      BMG-19320-1 EPIC ALABAMA RECYCLERS LLC   5/9/2019          90          54,050.00                              80,087.50
                        5/15/2019   Bill                      BMG-19310-2 EPIC ALABAMA RECYCLERS LLC   5/15/2019         84         615,024.01                             695,111.51
                        5/20/2019   Bill                      BMG-19320-2 EPIC ALABAMA RECYCLERS LLC   5/20/2019         79          17,250.00                             712,361.51
                        6/3/2019    Bill                      BMG-19320-3 EPIC ALABAMA RECYCLERS LLC   6/3/2019          65          17,250.00                             729,611.51
                        7/17/2019   Bill                      BMG-19320-4 EPIC ALABAMA RECYCLERS LLC   7/17/2019         21          46,000.00                             775,611.51
                        7/17/2019   Bill                      BMG-19410-1 EPIC ALABAMA RECYCLERS LLC   7/17/2019         21          48,150.00                             823,761.51
                        7/17/2019   Bill                      BMG-19420-1 EPIC ALABAMA RECYCLERS LLC   7/17/2019         21          18,000.00                             841,761.51


TOTAL                                                                                                                         $     941,761.51   -$      100,000.00    $   841,761.51
                                                                                                                                                                                        Case 1:19-cv-00468-CG-B Document 1-1 Filed 08/08/19 Page 2 of 11
                                                                                                                                                                                        PageID #: 10
   Case 1:19-cv-00468-CG-B Document 1-1 Filed 08/08/19 Page 3 of 11                                           PageID #: 11


                             Blake Marine




INVOICE

BLAKE MARINE GROUP                                                             INVOICE #:                 BMG-19310-1
4900 GRAND AVE.                                                                DATE:                      4/9/2019
PITTSBURGH, PA 15225                                                           NET TERMS:                 Due upon receipt
                                                                               DESCRIPTION:               BIMCO TowHire
                                                                                                          Smith Maritime Deposit
ATTN: AMES LAFFERTY
EPIC ALABAMA RECYCLERS LLC
660 DUNLAP DRIVE
MOBILE, AL 36602




        Date                    Description                   Cost                   10% Mark Up                   Amount


      04/08/19           Deposit to Smith Maritime        $          109,950.00 $             10,995.00   $              120,945.00
      04/08/19               Wire Transfer Fee                                                            $                   82.50




                                                                                               TOTAL            $121,027.50




                                Remit Payment To:                              Wiring Instructions:
                                Blake Marine Group, LLC                        Blake Marine Group
                                4900 Grand Avenue                              Huntington Bank
                                Pittsburgh, PA 15225                           20291 Route 19
                                504-919-5873                                   Cranberry, PA 16066
                                                                               Phone: 724-776-5077
                                                                               Account No.: 01100284107
                                                                               ABA #:        041215032
    Case 1:19-cv-00468-CG-B Document 1-1 Filed 08/08/19 Page 4 of 11                                              PageID #: 12



                                                              INVOICE


                        Blake Marine Group, LLC                                                INVOICE     19320-1
                        4900 Grand Ave.                                                        DATE        5/9/2019
                        Pittsburgh, PA 15225                                                   NET TERMS   Due upon receipt
                                                                                               PO #        33408


                TO:     Ames Lafferty
                        EPIC Alabama Recylers LLC
                        1080 Eldridge Parkway
                        Ste. 1300
                        Houston, Texas 77077

    REFERENCE:          Management Fee - Recycling

                                                                     Description

                      Monthly Management Fee - Mobile Recycling Facility
                      David Grecho, Eli Zatezalo, Joshua Greenberg




    Date                 Qty.       Number of Days Daily Cost Rate                         Name/Position                          Amount

3/18 - 3/31/19             1              14             $   1,000.00 David Grecho                                        $         14,000.00
4/1 - 4/30/19              1              30             $   1,000.00 David Grecho                                        $         30,000.00
5/1 - 5/3/19               1              3              $   1,000.00 David Grecho                                        $          3,000.00


                                                                                                                Sub Total $         47,000.00


    Date                 Qty.       Number of Days Daily Cost Rate                          Description                           Amount

 3/18 - 3/31               1              14         $        150.00 Hotel / Subsistence                                  $          2,100.00
  4/1 - 4/30               1              30         $        150.00 Hotel / Subsistence                                  $          4,500.00
  5/1 - 5/3                1              3          $        150.00 Hotel / Subsistence                                      $        450.00


                                                                                                                Sub Total $          7,050.00



                                                                                                                TOTAL $ 54,050.00

                      Remit Payment To:                                Wiring Instructions:
                      Blake Marine Group, LLC                          Blake Marine Group, LLC
                      4900 Grand Ave.                                  Huntington Bank
                      Pittsburgh, PA 15225                             20291 Route 19
                      504-919-5873                                     Cranberry, PA 16066
                                                                       Phone: 724-776-5077
                                                                       Account No.: 01100284107
                                                                       ABA #:        041215032




                                                                     Page 1 of 1
          Case 1:19-cv-00468-CG-B Document 1-1 Filed 08/08/19 Page 5 of 11                                                              PageID #: 13


                                                                      INVOICE


                             Blake Marine Group, LLC                                                                INVOICE #     19310-2
                             4900 Grand Ave.                                                                        DATE          5/15/2019
                             Pittsburgh, PA 15225                                                                   NET TERMS     DUE UPON RECEIPT


                   TO:       Ames Lafferty                                                            REFERENCE: Amos Runner Reactivation and Make Ready
                             EPIC Alabama Recylers LLC                                                              March 25 - April 29, 2019
                             1080 Eldridge Parkway,Ste 1300
                             Houston, Texas 77077

Personnel:
       Date                                        Number of Days     Daily Cost Rate                          Name/Position                         Amount
     3/25 - 4/29                                          37              $     750.00 Administrative cost                                      $      27,750.00
     3/25 - 4/29                                          37              $    1,000.00 Rig Mover / Superintendent                              $      37,000.00
     3/25 - 4/29                                          37              $     800.00 Electrical Technician                                    $      29,600.00
     3/25 - 4/29                                          37              $     750.00 Mechanical Techinican                                    $      27,750.00
     3/25 - 4/29                                          37              $     750.00 Mechanical Techinican                                    $      27,750.00
     3/25 - 4/29                                          37              $     600.00 Roustabout                                               $      22,200.00
     3/25 - 4/29                                          37              $     600.00 Roustabout                                               $      22,200.00
 4/1 - 4/20; 4/27-29                                      24              $     600.00 Roustabout                                               $      14,400.00
      4/1 - 4/17                                          17              $     600.00 Roustabout                                               $      10,200.00
 4/13 - 4/20; 4/27-29                                     12              $     600.00 Roustabout                                               $       7,200.00
***4/29/19 - 24 hour shift
                                                                                                                                       Sub Total $    226,050.00
Helicopter and Vessels
       Date                      Vendor            Number of Days     Daily Cost Rate                               Item                             Amount
        1 Day                Republic Helicopter          1               $   13,204.40 Helicopter to board Noble Amos Runner                   $      13,204.40
    4/15 - 4/17/19           Abe's Boat Rentals           2               $    4,812.48 Miss Brooke                                             $       9,624.96
      3/21/2019              GIS Marine                   1               $    5,267.59 GIS Dylan                                               $       5,267.59
    3/27 - 3/30/19           GIS Marine                   3               $   10,317.37 GIS Dylan                                               $      30,952.11
    4/20 - 4/21/19           GIS Marine                   1               $    4,235.00 GIS Dylan                                               $       4,235.00
                                                                                                                                       Sub Total $     63,284.06
Equipment
        Date                     Vendor            Number of Days     Daily Cost Rate                            Description                         Amount
      3/31/2019              Spartan Divers               1               $    5,500.00 5 man Shallow Water Dive Package                        $       5,500.00
      4/10/2019              Spartan Divers               1               $    4,378.00 3-man dive team with air package                        $       4,378.00
     3/27 - 4/29             Redfish Rentals                          $       15,428.22 150 KW Gen Set                                          $      15,428.22
                                                                                                                                       Sub Total $     25,306.22
Consumables
      Date                                            Vendor                                                     Description                         Amount
      3/24/2019                                       Stripes                           Fuel                                                    $             24.22
      3/24/2019                                   Dear Donut Man                        Food                                                    $             45.79
      3/24/2019                                       Walmart                           Food                                                    $         534.63
      3/25/2019                                        Airgas                           Oxygen                                                  $         612.60
      3/27/2019                                       Walmart                           Crew Food Stores                                        $             64.42
      3/27/2019                                Sureway Supermarket                      Crew Food Stores                                        $         970.00
      3/27/2019                                Southern Furnishings                     Freezer/Refrigerator for food storage                   $       1,528.45
      3/27/2019                                    Leeville Bidge                       Toll                                                    $              8.25
      3/28/2019                                    Fuel for Rental                      Sams                                                    $             56.65
      3/31/2019                                        Airgas                           Rental O2 Rack                                          $             77.78
      4/1/2019                                     Louisiana Cat                        V Belts for the Cranes                                  $         131.48
      4/1/2019                                        Murphy                            Fuel                                                    $             62.11
      4/1/2019                                        Murphy                            Fuel                                                    $              7.93
      4/1/2019                                      McDonalds                           Food                                                    $             31.85
      4/1/2019                                        Walmart                           Food                                                    $         310.44
      4/2/2019                                      McCall Dock                         GIS Dylan - 2 Calls                                     $         704.00
      4/3/2019                                     Browns Market                        Crew Food Stores                                        $         822.61
   Case 1:19-cv-00468-CG-B Document 1-1 Filed 08/08/19 Page 6 of 11                            PageID #: 14


4/4/2019                          McCall Dock        Load Food Stores on the 4th                        $        313.50
4/4/2019                              Walmart        Food                                               $        146.52
4/5/2019                      Dockside Bar & Grill   Food                                               $         23.65
4/5/2019                       Fish Commander        2 X Stores run fm Cameron                          $      1,540.00
4/8/2019                       Fish Commander        1 X Crew Run fm Cameron                            $      1,320.00
4/9/2019                       Bletsch Steamship     Port Charges/Agency Fees                           $    258,619.70
4/17/2019                       Browns Market        Crew Food Stores                                   $         34.12
4/17/2019                       Browns Market        Crew Food Stores                                   $        607.85
4/19/2019                             Stone Oil      Miss Brook - Fuel & Lube                           $      1,286.29
4/20/2019                             Walmart        Food for crew remaining on board                   $        145.29
4/20/2019                             Walmart        Food for crew remaining on board                   $        139.52
4/20/2019                             Walmart        Food for crew remaining on board                   $         40.89
4/20/2019                             Walmart        Food for crew remaining on board                   $         91.01
4/20/2019                             Walmart        Food for crew remaining on board                   $        324.93
4/20/2019                        Leeville Bidge      Toll                                               $          4.13
4/20/2019                         Mcdonalds          Food for departing crew                            $         56.57
4/21/2019                         Amelia Hotel       Frank Hibdon                                       $         49.47
4/21/2019                         Amelia Hotel       Ray Maldonado                                      $         49.47
4/21/2019                         Amelia Hotel       Michael Max                                        $         49.47
4/21/2019                         Amelia Hotel       Homero Rodriguez                                   $         49.47
4/21/2019                             McFleet        Fuel for Rental                                    $         38.60
4/21/2019                             Murphy         Fuel for Rental                                    $         43.23
4/21/2019                         Copelands          Crew Dinner                                        $        122.96
5/7/2019                     Ocean Tech. Services    Trip / Tow Survey & Meetings                       $     28,412.08



                                                                                               Sub Total $   300,383.74


                                                                                        INVOICE TOTAL $ 615,024.01

            Remit Payment To:                        Wiring Instructions:
            Blake Marine Group, LLC                  Blake Marine Group, LLC
            4900 Grand Ave.                          Huntington Bank
            Pittsburgh, PA 15225                     20291 Route 19
            504-919-5873                             Cranberry, PA 16066
                                                     Phone: 724-776-5077
                                                     Account No.: 01100284107
                                                     ABA #:        041215032
    Case 1:19-cv-00468-CG-B Document 1-1 Filed 08/08/19 Page 7 of 11                                              PageID #: 15



                                                              INVOICE


                        Blake Marine Group, LLC                                                INVOICE     19320-2
                        4900 Grand Ave.                                                        DATE        5/20/2019
                        Pittsburgh, PA 15225                                                   NET TERMS   Due upon receipt
                                                                                               PO #        33408


                TO:     Ames Lafferty
                        EPIC Alabama Recylers LLC
                        1080 Eldridge Parkway
                        Ste. 1300
                        Houston, Texas 77077

    REFERENCE:          Management Fee - Recycling

                                                                     Description

                      Monthly Management Fee - Mobile Recycling Facility
                      David Grecho, Eli Zatezalo, Joshua Greenberg




    Date                 Qty.       Number of Days Daily Cost Rate                         Name/Position                      Amount

5/4 - 5/18/19              1              15             $   1,000.00 David Grecho                                        $     15,000.00




                                                                                                                Sub Total $     15,000.00


    Date                 Qty.       Number of Days Daily Cost Rate                          Description                       Amount

5/4 - 5/18/19              1              15         $        150.00 Hotel / Subsistence                                  $      2,250.00




                                                                                                                Sub Total $      2,250.00



                                                                                                                TOTAL $ 17,250.00

                      Remit Payment To:                                Wiring Instructions:
                      Blake Marine Group, LLC                          Blake Marine Group, LLC
                      4900 Grand Ave.                                  Huntington Bank
                      Pittsburgh, PA 15225                             20291 Route 19
                      504-919-5873                                     Cranberry, PA 16066
                                                                       Phone: 724-776-5077
                                                                       Account No.: 01100284107
                                                                       ABA #:        041215032




                                                                     Page 1 of 1
    Case 1:19-cv-00468-CG-B Document 1-1 Filed 08/08/19 Page 8 of 11                                              PageID #: 16



                                                              INVOICE


                        Blake Marine Group, LLC                                                INVOICE     19320-3
                        4900 Grand Ave.                                                        DATE        6/3/2019
                        Pittsburgh, PA 15225                                                   NET TERMS   Due upon receipt
                                                                                               PO #        33408


                TO:     Ames Lafferty
                        EPIC Alabama Recylers LLC
                        1080 Eldridge Parkway
                        Ste. 1300
                        Houston, Texas 77077

    REFERENCE:          Management Fee - Recycling

                                                                     Description

                      Monthly Management Fee - Mobile Recycling Facility
                      David Grecho, Eli Zatezalo, Joshua Greenberg




    Date                 Qty.       Number of Days Daily Cost Rate                         Name/Position                          Amount

5/19 - 5/31/19             1              13             $   1,000.00 David Grecho                                        $         13,000.00
 6/1 - 6/2/19              1              2              $   1,000.00 David Grecho                                        $          2,000.00




                                                                                                                Sub Total $         15,000.00


    Date                 Qty.       Number of Days Daily Cost Rate                          Description                           Amount

5/19 - 5/31/19             1              13         $        150.00 Hotel / Subsistence                                  $          1,950.00
 6/1 - 6/2/19              1              2          $        150.00 Hotel / Subsistence                                      $        300.00




                                                                                                                Sub Total $          2,250.00



                                                                                                                TOTAL $ 17,250.00

                      Remit Payment To:                                Wiring Instructions:
                      Blake Marine Group, LLC                          Blake Marine Group, LLC
                      4900 Grand Ave.                                  Huntington Bank
                      Pittsburgh, PA 15225                             20291 Route 19
                      504-919-5873                                     Cranberry, PA 16066
                                                                       Phone: 724-776-5077
                                                                       Account No.: 01100284107
                                                                       ABA #:        041215032




                                                                     Page 1 of 1
    Case 1:19-cv-00468-CG-B Document 1-1 Filed 08/08/19 Page 9 of 11                                             PageID #: 17



                                                              INVOICE


                        Blake Marine Group, LLC                                               INVOICE     19320-4
                        4900 Grand Ave.                                                       DATE        7/15/2019
                        Pittsburgh, PA 15225                                                  NET TERMS   Due upon receipt
                                                                                              PO #        33408


                TO:     Ames Lafferty
                        EPIC Alabama Recylers LLC
                        1080 Eldridge Parkway
                        Ste. 1300
                        Houston, Texas 77077

    REFERENCE:          Management Fee - Recycling

                                                                   Description

                      Monthly Management Fee - Mobile Recycling Facility




    Date                 Qty.       Number of Days Daily Cost Rate                      Name/Position                        Amount

6/3 - 6/30/19              1              28             $   1,000.00 David Grecho/Project Manager                       $     28,000.00
7/1 - 7/12/19              1              12             $   1,000.00 David Grecho/Project Manager                       $     12,000.00
                                                                                                               Sub Total $     40,000.00


    Date                 Qty.       Number of Days Daily Cost Rate                        Description                        Amount

6/3 - 6/30/19              1              28         $        150.00 David Grecho / Hotel & Subsistence                  $      4,200.00
7/1 - 7/12/19              1              12             $    150.00 David Grecho/Project Manager                        $      1,800.00
                                                                                                               Sub Total $      6,000.00




                                                                                                               TOTAL $ 46,000.00

                      Remit Payment To:                               Wiring Instructions:
                      Blake Marine Group, LLC                         Blake Marine Group, LLC
                      4900 Grand Ave.                                 Huntington Bank
                      Pittsburgh, PA 15225                            20291 Route 19
                      504-919-5873                                    Cranberry, PA 16066
                                                                      Phone: 724-776-5077
                                                                      Account No.: 01100284107
                                                                      ABA #:        041215032
   Case 1:19-cv-00468-CG-B Document 1-1 Filed 08/08/19 Page 10 of 11                                               PageID #: 18



                                                           INVOICE


                        Blake Marine Group, LLC                                                INVOICE     19410-1
                        4900 Grand Ave.                                                        DATE        7/15/2019
                        Pittsburgh, PA 15225                                                   NET TERMS   Due upon receipt
                                                                                               PO #


                TO:     Ames Lafferty
                        EPIC Alabama Recylers LLC
                        1080 Eldridge Parkway
                        Ste. 1300
                        Houston, Texas 77077

    REFERENCE:          Mobile Cutting Crew




    Date                 Qty.       Number of Days Daily Cost Rate                     Name/Position                              Amount

5/28 - 6/13/19             1              16          $     450.00 Ray Maldonado/Supervisor                               $          7,200.00
5/28 - 5/31/19             1              4           $     450.00 Lorenzo Ruiz/Topside Cutters                           $          1,800.00
5/28 - 6/13/19             1              16          $     450.00 William Castro/Topside Cutters                         $          7,200.00
6/1 - 6/13/19              1              12          $     450.00 Josue David/Topside Cutters                            $          5,400.00
5/28 - 6/13/19             1              16          $     450.00 Juan Ruiz/Topside Cutters                              $          7,200.00
6/3 - 6/13/19              1              10          $     450.00 Olvin Aguilar/Topside Cutters                          $          4,500.00
  7/1 - 7/11               1              1           $     450.00 Lorenzo Ruiz                                               $        450.00
  7/1 - 7/11               1              1           $     450.00 Ernesto Ruiz                                               $        450.00
  7/1 - 7/11               1              8           $     450.00 Josue David                                            $          3,600.00
  7/1 - 7/11               1              8           $     450.00 Juan Ruiz                                              $          3,600.00
  7/1 - 7/11               1              9           $     450.00 Rene Chavez                                            $          4,050.00
  7/1 - 7/11               1              6           $     450.00 Jose Manuel Reyes                                      $          2,700.00


                                                                                                                Sub Total $         48,150.00




                                                                                                     INVOICE TOTAL $ 48,150.00

                      Remit Payment To:                              Wiring Instructions:
                      Blake Marine Group, LLC                        Blake Marine Group, LLC
                      4900 Grand Ave.                                Huntington Bank
                      Pittsburgh, PA 15225                           20291 Route 19
                      504-919-5873                                   Cranberry, PA 16066
                                                                     Phone: 724-776-5077
                                                                     Account No.: 01100284107
                                                                     ABA #:        041215032
 Case 1:19-cv-00468-CG-B Document 1-1 Filed 08/08/19 Page 11 of 11                                           PageID #: 19



                                                        INVOICE


                     Blake Marine Group, LLC                                             INVOICE     19420-1
                     4900 Grand Ave.                                                     DATE        7/15/2019
                     Pittsburgh, PA 15225                                                NET TERMS   Due upon receipt
                                                                                         PO #


             TO:     Ames Lafferty
                     EPIC Alabama Recylers LLC
                     1080 Eldridge Parkway
                     Ste. 1300
                     Houston, Texas 77077

  REFERENCE:         Houma Cutting Crew




  Date                Qty.       Number of Days Daily Cost Rate                     Name/Position                       Amount

7/1 - 7/10              1              8           $     400.00 Lorenzo Ruiz                                        $      3,200.00
7/1 - 7/10              1              5           $     400.00 Joel Martinez                                       $      2,000.00
7/1 - 7/10              1              8           $     400.00 Martin Martinez                                     $      3,200.00
7/1 - 7/10              1              8           $     400.00 Edgar Martinez                                      $      3,200.00
7/1 - 7/10              1              7           $     400.00 Adrian Martinez                                     $      2,800.00
7/1 - 7/10              1              6           $     400.00 Vicente Ruiz                                        $      2,400.00
7/1 - 7/10              1              3           $     400.00 Ernesto Ruiz                                        $      1,200.00
                                                                                                          Sub Total $     18,000.00




                                                                                                INVOICE TOTAL $ 18,000.00

                   Remit Payment To:                              Wiring Instructions:
                   Blake Marine Group, LLC                        Blake Marine Group, LLC
                   4900 Grand Ave.                                Huntington Bank
                   Pittsburgh, PA 15225                           20291 Route 19
                   504-919-5873                                   Cranberry, PA 16066
                                                                  Phone: 724-776-5077
                                                                  Account No.: 01100284107
                                                                  ABA #:        041215032
